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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

BRIAN TOOTLE, )
Plaintiff, )
) C.A. No. 20-235 Erie
)
Vv. ) District Judge Susan Paradise Baxter
) Magistrate Judge Richard A. Lanzillo,
CORRECTIONAL OFFICER LONG, )
Defendant. )
MEMORANDUM ORDER

Plaintiff Brian Tootle, an inmate incarcerated at the State Correctional Institution at
Forest in Marienville, Pennsylvania (“SCI-Forest”), initiated this pro se civil rights action on
August 13, 2020, against Defendant Correctional Officer Long. This matter was referred to
United States Magistrate Judge Richard A. Lanzillo for report and recommendation in
accordance with the Magistrates Act, 28 U.S.C. § 636(b)(1), and Rules 72.1.3 and 72.1.4 of the
Local Rules for Magistrates. The case was subsequently reassigned to the undersigned, as
presiding judge, on December 28, 2020, with Judge Lanzillo remaining as the referred
Magistrate Judge for all pretrial proceedings.

In his pro se complaint, Plaintiff alleges that Defendant confiscated his religious
materials and denied him access to those materials while he was in the Restricted Housing Unit
(“RHU”) in violation of his rights under the Free Exercise Clause of the first amendment to the
United States Constitution and the Religious Land Use and Institutionalized Persons Act of 2000
(“RLUIPA”). In particular, Plaintiff alleges that Defendant refused to give him access to his
religious materials during his entire thirteen-day stay in the RHU, which coincided with the

Islamic religious celebration of Ramadan.
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On December 28, 2020, Defendant filed a motion to dismiss [ECF No. 21], arguing that
Plaintiff's complaint fails to state a claim upon which relief can be granted. On July 19, 2021,
Magistrate Judge Lanzillo issued a report and recommendation recommending that Defendant’s
motion to dismiss be denied as to Plaintiff's First Amendment claim, but granted as to Plaintiff's
RLUIPA claim to the extent such claim is brought against Defendant in his individual capacity
and for monetary damages; however, it was recommended that Plaintiff be allowed to amend his
complaint to assert his RLUIPA claim against Defendant in his official capacity and for
injunctive and/or declaratory relief only [ECF No. 26]. This Court adopted Judge Lanzillo’s
recommendation by Order dated August 13, 2021, and Plaintiff was granted thirty (30) days to
file an amended complaint to properly assert his RLUIPA claim [ECF No. 27]. Plaintiff
subsequently failed to file an amended complaint in accordance with this Court’s Order and, as a
result, Plaintiff's RLUIPA claim was dismissed in its entirety, with prejudice [ECF No. 29].

After the parties completed discovery, Defendant filed a motion for summary judgment
seeking the entry of judgment in its favor as a matter of law on Plaintiff's remaining First
Amendment free exercise of religion claim [ECF No. 38]. Plaintiff, in turn, filed his own motion
for summary judgment [ECF No. 45]. Both motions were fully briefed by the parties.

On October 31, 2022, Judge Lanzillo issued a Report and Recommendation [R&R]
recommending that both motions for summary judgment be denied [ECF No. 60]. To date,
neither party has filed timely objections to the R&R.

Thus, after de novo review of all relevant documents in this case, including the parties’
cross motions for summary judgment and oppositions thereto, together with the report and.

recommendation filed in this case, the following order is entered:
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AND NOW, this 21° day of November, 2022;
IT IS HEREBY ORDERED that Defendant’s summary judgment motion [ECF No. 38]
is DENIED and Plaintiffs summary judgment motion [ECF No. 45] is also DENIED. The report

and recommendation of Magistrate Judge Lanzillo, issued October 31, 2022 [ECF No. 60}, is

SUSAN PARADISE BAXTER
United States District Judge

adopted as the opinion of the Court.

ce: The Honorable Richard A. Lanzillo
United States Magistrate Judge
